           Case 2:19-cv-01792-APG-EJY Document 35 Filed 06/01/20 Page 1 of 1



 1                              UNITED STATES DISTRICT COURT

 2                                      DISTRICT OF NEVADA

 3 MATTHEW NELSON,                                        Case No.: 2:19-cv-01792-APG-EJY

 4          Plaintiff                                   Order for Stipulation of Dismissal or
                                                                   Status Report
 5 v.

 6 RAUSCH, STURM, ISRAEL, EMERSON &
   HORNIK, LLP, et al.,
 7
       Defendants
 8

 9         On January 7, 2020, the parties advised the court that plaintiff Matthew Nelson had

10 settled with defendant Equifax Information Services, LLC. ECF No. 27. On January 9, 2020, the

11 parties advised the court that Nelson had settled with defendant Transunion, LLC. ECF No. 29.

12 And on February 27, 2020, the parties advised the court that Nelson had settled with defendant

13 Experian Information Solutions, Inc. Several months have passed and the parties have not filed

14 stipulations of dismissal.

15         IT IS THEREFORE ORDERED that by June 19, 2020, the parties shall file either

16 stipulations of dismissal or a status report.

17         DATED this 1st day of June, 2020.

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                                                       ANDREW P. GORDON
                                                       UNITED STATES DISTRICT JUDGE
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